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  8 RAT PACK FILMPRODUKTION GMBH
  9
                        UNITED STATES DISTRICT COURT
 10
           CENTRAL DISTRICT OF CALIFORNIA, CENTRAL DIVISION
 11
 12 RAT PACK FILMPRODUKTION                    Case No.
 13 GMBH, a German limited liability
    company,                                   COMPLAINT FOR:
 14
                                               (1) FALSE DESIGNATION OF
 15           Plaintiff,                           ORIGIN [15 U.S.C. § 1125(a)];
                                               (2) STATUTORY UNFAIR
 16        v.                                      COMPETITION [Cal. Bus. &
 17                                                Prof. Code §§ 17200 et seq.];
    RATPAC ENTERTAINMENT, LLC, a               (3) FALSE DESIGNATION OF
 18 Delaware limited liability company;            ORIGIN [Austria];
                                               (4) FALSE DESIGNATION OF
 19 WARNER BROS. ENTERTAINMENT,                    ORIGIN [The Netherlands]; and
    INC., a Delaware corporation; and DOES     (5) FALSE DESIGNATION OF
 20 1-10, inclusive,
                                                   ORIGIN [Denmark]
 21
                 Defendants.                       DEMAND FOR JURY TRIAL
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                                       COMPLAINT
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  1        Plaintiff Rat Pack Filmproduktion GmbH (“Rat Pack” or “Plaintiff”), as and for
  2 its complaint against defendants Ratpac Entertainment, LLC (“Ratpac”), Warner Bros.
  3 Entertainment, Inc. (“Warner Bros.”), and Does 1 through 10 (together with RatPac
  4 and Warner Bros., “Defendants”), alleges as follows:
  5                                    THE PARTIES
  6        1.      Plaintiff Rat Pack is a German limited liability company with its
  7 principal place of business in Munich, Germany.
  8        2.      Upon information and belief, defendant Ratpac is a Delaware limited
  9 liability company with its principal place of business in Los Angeles County,
 10 California.
 11        3.      Upon information and belief, defendant Warner Bros. is a Delaware
 12 corporation with its principal place of business in Los Angeles County, California.
 13        4.      Plaintiff is unaware of the true names and capacities of the Defendants
 14 sued herein as Does 1 through 10, inclusive, and therefore sues them by such
 15 fictitious names. Plaintiff is informed and believes, and thereon alleges, that each of
 16 the fictitiously named Defendants engaged in, or is in some manner legally
 17 responsible for, the wrongful conduct alleged herein. Plaintiff therefore sues these
 18 Defendants by such fictitious names and will amend this complaint to state their true
 19 names and capacities when such have been ascertained.
 20        5.      Plaintiff is informed and believes and thereon alleges that, in doing the
 21 acts alleged herein, each of the Defendants was the agent, principal, employee,
 22 representative, or alter ego of the other Defendants and/or acted with one or more of
 23 the other Defendants’ knowledge, consent, and approval, and acted within the
 24 course and scope of his agency or representative capacity. As such, each of the
 25 Defendants is responsible for the actions of the other Defendants, as alleged herein.
 26                                    JURISDICTION
 27        6.      This action arises in part under the laws of the United States—
 28 including but not limited to its trademark laws, 15 U.S.C. § 1114 et seq. This Court

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  1 therefore has subject matter jurisdiction pursuant to 15 U.S.C. § 1121, 28 U.S.C.
  2 § 1331, and 28 U.S.C. § 1338(a). The Court has jurisdiction over the unfair
  3 competition claims herein under the provisions of 28 U.S.C. § 1338(b) in that said
  4 claims are joined with a substantial and related claim under the trademark laws of
  5 the United States. Pursuant to 28 U.S.C. § 1367(a), this Court has supplemental
  6 jurisdiction over the other claims, all of which arise out of and have a nexus to the
  7 facts giving rise to the federal claims and therefore form a part of the same case or
  8 controversy under Article III of the United States Constitution. In addition to the
  9 foregoing, this Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332
 10 because Plaintiff and Defendants are citizens of different States and the amount in
 11 controversy exceeds $75,000.
 12         7.      Upon information and belief, this Court has general personal
 13 jurisdiction over Defendants because their principal places of business as reported to
 14 the California Secretary of State are within this District.
 15         8.      Venue is proper in this district under 28 U.S.C. §§ 1391(a)–(d), among
 16 other bases, insofar as Defendants have committed unlawful acts in this judicial
 17 district and have done and are doing substantial business in this judicial district.
 18                              GENERAL ALLEGATIONS
 19         9.      This dispute arises from Defendants’ willful infringement of Plaintiff
 20 Rat Pack’s trademark in the United States and in Europe.
 21                Plaintiff Rat Pack Filmproduktion and Its Mark
 22         10.     Rat Pack is one of the most successful motion picture producers in
 23 Germany. Rat Pack was founded in 2001 and has produced over 65 feature films.
 24 In 2013, Rat Pack released the highest-grossing film of the year in Germany, Fack
 25 ju Göhte, with revenues of over $77 million, USD.
 26         11.     While Rat Pack’s films have been distributed primarily in Europe, the
 27 films have been circulated widely in the United States, as well. For just a few
 28 examples, Rat Pack’s 2009 film “Vorstadt Krokodile” (English title: “The

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  1 Crocodile”) and 2010 follow-up “Vorstadt Krokodile 2” (English title: “The
  2 Crocodile Strikes Back”), as well as its “OV Haus der Krokodile” (English title:
  3 “Victor and the Secret of Crocodile Mansion”) from 2012, were all commercially
  4 released in the United States shortly after their European debuts. In 2013, Rat Pack
  5 released Fack ju Göhte (as noted above, the number one selling movie in Germany
  6 that year) in the United States under the title Suck Me Shakespeer. Many of Rat
  7 Pack’s films have been, and are, available in the United States via video-on-demand
  8 services like Hulu, Amazon Prime Video, and Netflix. In addition, Rat Pack’s films
  9 have been showcased at numerous American film festivals such as the 2008
 10 Sundance festival, at which the Rat Pack film “The Wave” was featured. In fact,
 11 Rat Pack has had a film showcased in an American festival every year since at least
 12 2011.
 13         12.    Since January 2002, Plaintiff has marketed its products and services,
 14 both in Europe and the United States, under the trademark “Rat Pack”. Plaintiff
 15 considers the mark to be particularly apt for its business. The original “rat pack”
 16 was an informal group of A-list Hollywood actors who met from time to time in the
 17 Holmby Hills home of Humphrey Bogart and Lauren Bacall. During the 1960s,
 18 members of the “rat pack” included Frank Sinatra, Dean Martin, Sammy Davis, Jr.,
 19 Joey Bishop, and Peter Lawford. Plaintiff’s “Rat Pack” mark is used in connection
 20 with film finance and production. The mark appears in the opening and closing
 21 credits of Plaintiff’s films, on its film posters, on the packaging of its DVDs, and
 22 even on promotional toys included with Happy Meals from McDonalds.
 23         13.    In Germany, Plaintiff obtained a registration of the Rat Pack mark
 24 (identifier DE 30201720), effective August 7, 2002, and carrying with it a priority
 25 date of January 14, 2002. The registration is for, among other things,
 26 “entertainment” and “the production of shows.” (Plaintiff has never sought
 27 registration of the mark in the United States.)
 28

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  1               Defendants and Their Infringing “Ratpac” Mark
  2        14.     By 2013, Brett Ratner was a well-regarded Hollywood director and
  3 producer. That year, he founded defendant Ratpac Entertainment, LLC in
  4 partnership with billionaire James Packer. (The name “Ratpac” appears to be a pun
  5 created by combining the two men’s last names, without regard to the prior rights of
  6 third parties such as Rat Pack.) By September of 2013, Ratpac had teamed up with
  7 another entity known as Dune Entertainment to strike a deal with defendant Warner
  8 Bros. that, according to the Hollywood Reporter, involved the investment of $450
  9 million for the production of up to 75 feature films. Over time, the joint productions
 10 came to include “Gravity,” “American Sniper,” and “Wonder Woman.” On
 11 information and belief, pursuant to the investment agreement between them,
 12 Defendants have jointly marketed and distributed these films internationally –
 13 including in Europe and the United States – with prominent “Ratpac” branding.
 14        15.     On June 17, 2014, Ratpac sought to register a trademark for the term
 15 “RATPAC” in the European Union in relation to, among other things, “film
 16 financing” and “distribution of motion pictures and television programs.” Rat Pack
 17 opposed the application, and on April 28, 2015, Ratpac withdrew it. In addition, in
 18 response to a cease-and-desist letter from Rat Pack’s lawyers, Ratpac agreed to
 19 refrain from using its mark in Germany. Thereafter, however, Ratpac sought to
 20 register its mark in individual countries within the European Union, including
 21 among others Austria, the Netherlands, and Denmark.
 22               Rat Pack Wins Against Ratpac in Austria
 23        16.     On November 19, 2015, Ratpac registered its mark in Austria in the
 24 following international categories:
 25                     36. Financing of films,
 26                     41. Production of feature films and television
 27                     programmes; film distribution services namely
 28                     distribution of feature films and television

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                                          COMPLAINT
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  1                       programmes; publication of books; operation of
  2                       casinos;
  3                       43. Hotel services, catering for guests in
  4                       restaurants, operation of a bar.
  5         17.     Rat Pack filed a cancellation proceeding with respect to all categories,
  6 except “operation of casinos.” Ratpac opposed the cancellation proceedings. The
  7 court of first instance ultimately granted the cancellation request in its entirety. This
  8 decision was upheld on appeal to the Vienna Higher Regional Court, except as to:
  9 “Hotel services, catering for guests in restaurants, operation of a bar.” Ratpac’s
 10 registration was allowed to stand as to these categories, as well as the uncontested
 11 category of “operation of casinos.” The decision is now final and binding. A copy
 12 of an English translation of the statement of decision, dated April 28, 2020, is
 13 appended hereto as Exhibit A and incorporated herein by this reference.
 14         18.     In the statement of decision, the appellate court notes with approval
 15 and adopts the following conclusions of the “cancellation division”:
 16                “. . . the applicant’s [i.e., Rat Pack’s] company name was
 17                distinctive and that there was also a likelihood of
 18                confusion with the contested mark. There was also an
 19                identity or at least a high degree of similarity . . . to the
 20                applicant’s business activity.” (Exh. A at p. 4.)
 21                Rat Pack Wins Against Ratpac in the Netherlands
 22         19.     On September 8, 2015, Ratpac registered its mark in the Netherlands
 23 for the same three international categories noted in paragraph 18 above: 36, 41, and
 24 43.
 25         20.     Rat Pack filed a cancellation proceeding. Ratpac opposed the
 26 cancellation proceeding. The court of first instance denied Rat Pack’s request for
 27 cancellation. The court of appeal overturned the decision of the lower court, ruling
 28 that:

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  1              “Ratpac US [is prohibited from] using the designation
  2              RATPAC in the Netherlands in the opening title and/or
  3              credits of films, which are released for the first time after
  4              service of this judgment . . . .”
  5 The decision is now final and binding. A copy of an English translation of the
  6 statement of decision, dated September 14, 2021, is appended hereto as Exhibit B
  7 and incorporated herein by this reference. The language quoted above appears on
  8 page 13.
  9        21.    In its statement of decision, the appellate court noted:
 10              “The court considers that the trade name RATPAC
 11              ENTERTAINMENT differs from the trade name RAT
 12              PACK FILMPRODUKTION only to a very small extent.
 13              The elements RAT PACK and RATPAC are the most
 14              decisive for the overall image of both trade names, as the
 15              elements ENTERAINMENT and FILPRODUKTION are
 16              descriptive. RATPAC and RAT PACK are aurally
 17              identical. The logo in the trade name of Ratpac US will
 18              not be pronounced. It is not disputed that the names are
 19              conceptually identical in that they can both be understood
 20              as referring to the legendary group of Hollywood actors
 21              known as The Rat Pack: Frank Sinatra, Dean Martin,
 22              Sammy Davis Jr, Joey Bishop and Peter Lawford. The
 23              fact that RATPAC is also a contraction of the surnames
 24              of the company’s founders does not change that, now that
 25              the relevant audience will generally be unaware of it.
 26              Although there is a visual difference between the trade
 27              names, in the opinion of the Court this is insufficient to
 28              judge differently about the aforementioned similarity

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  1               between the trade names, also taking into account the
  2               aural and conceptual similarity. * * *
  3
  4               In terms of the nature and activities of the companies,
  5               they are related, as both companies are involved in the
  6               creation of films . . . . * * *
  7
  8               In view of the aforementioned similarity between the
  9               trade names used, the nature of the companies as
 10               presented to the general movie watching public and the
 11               circumstance that this public is confronted with the trade
 12               names in practically the same manner when watching a
 13               movie, namely in the opening title and the credits, the
 14               Court of Appeal is of the opinion that . . . confusion
 15               between the companies is to be feared among this
 16               public.” (Exh. B at p. 7.)
 17               Rat Pack Wins Against Ratpac in Denmark
 18        22.     On June 17, 2014, Ratpac filed an application to register its mark in
 19 Denmark in the same three international classes noted in paragraph 18 above: 36,
 20 41, and 43. Rat Pack opposed. The Danish Patent and Trademark Office ruled in
 21 favor of registration. Rat Pack appealed that decision to the Danish Board of
 22 Appeal for Patents and Trademarks (the “Board”), which upheld the decision. Rat
 23 Pack then appealed to Denmark’s ultimate authority on the issue: the Danish
 24 Maritime and Commercial Court. Meanwhile, the Board, based on new evidence,
 25 reconsidered and reversed its decision, in part, denying Ratpac registration in class
 26 41 as to “production and distribution of television programs and films.” The appeal
 27 to the Maritime and Commercial Court then converted into one by Ratpac,
 28 attempting to overturn the new decision of the Board.

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  1        23.     In a ruling issued on November 1, 2021, the Maritime and
  2 Commercial Court upheld the final decision of the Board, ruling that:
  3
  4               “Ratpac Entertainment, LLC shall acknowledge that prior
  5               to the priority date [of Ratpac’s Danish trademark
  6               application], Rat Pack Filmproduktion GmbH has
  7               established a right to the trademark RAT PACK for film
  8               production in Denmark.
  9
 10               RatPac Entertainment, LLC shall acknowledge that use
 11               of the RATPAC trademark for the ‘production and
 12               distribution of television programmes and film’ and ‘the
 13               production of feature films’ in Denmark constitutes an
 14               infringement of Rat Pack Filmproduktion GmbH’s rights
 15               in the trademark RAT PACK.”
 16 The decision is now final and binding. A copy of an English translation of the
 17 statement of decision, dated November 1, 2021, is appended hereto as Exhibit C and
 18 incorporated herein by this reference. The language quoted above appears on page
 19 26.
 20        24.     The rulings discussed above, and appended hereto as Exhibits A, B,
 21 and C, shall be referred to hereinafter collectively as the “Judgments”. Each of the
 22 Judgments recognizes a significant likelihood of consumer confusion as to the
 23 source or origin of films being distributed under the “RatPac” and “Rat Pack” marks
 24 and awards Rat Pack declaratory and other relief. None of the Judgments, however,
 25 awards Rat Pack money damages or compels Defendants to disgorge their unjust
 26 enrichment. On information and belief, it is the custom in Europe for trademark
 27 owners to preliminarily obtain non-monetary relief against infringers and then
 28 pursue money damages in a subsequent, separate action. Defendants all reside in

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   1 Los Angeles. Rather than file monetary claims against Defendants in Austria, the
   2 Netherlands, and Denmark, and then seek to domesticate any resulting judgments in
   3 Los Angeles for the purpose of collection, Rat Pack has elected to come to Los
   4 Angeles first. In the present action, Rat Pack seeks: (i) monetary relief against
   5 Defendants for their infringement of Rat Pack’s trademark rights in Europe and (ii)
   6 declaratory, injunctive, and monetary relief for Defendants’ infringement of Rat
   7 Pack’s trademark rights in the United States.
   8                               FIRST CAUSE OF ACTION
   9                  (False Designation of Origin - [15 U.S.C. § 1125(a)])
  10                                  Against All Defendants
  11         25.      Rat Pack incorporates all allegations set forth hereinabove by this
  12 reference.
  13        26.       Rat Pack’s use of the “Rat Pack” trademark in interstate commerce in
  14 the United States precedes Defendants’ use of the “Ratpac” mark and has continued
  15 without substantial interruption.
  16        27.       Defendants have used the “Ratpac” mark in interstate commerce in the
  17 United States in connection with the sale and promotion of their own goods and
  18 services, which are substantially related to Rat Pack’s, without Rat Pack’s
  19 authorization.
  20        28.       On information and belief, Defendants’ use of the “Ratpac” mark has
  21 caused or is likely to cause confusion or mistake or deceive the public in the United
  22 States as to a possible affiliation between Defendants and Rat Pack, or as to the
  23 origin, sponsorship, or approval of Defendants’ and/or Rat Pack’s goods and
  24 services.
  25        29.       Rat Pack is informed and believes and thereon alleges that, as a
  26 proximate result of Defendants’ use of the “Ratpac” mark in the United States,
  27 Defendants have made substantial sales and profits in amounts to be established
  28 according to proof.

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   1          30.    Rat Pack is informed and believes, and thereon alleges that, as a
   2 proximate result of Defendants’ use of the “Ratpac” mark in the United States, Rat
   3 Pack has been damaged and deprived of substantial sales, profits, and royalties that
   4 Rat Pack otherwise would have earned, in amounts to be established according to
   5 proof.
   6          31.    Rat Pack is informed and believes, and thereon alleges that, unless
   7 restrained by the Court, Defendants will continue to infringe Rat Pack’s trademark
   8 in the United States, thus engendering a multiplicity of judicial proceedings, and
   9 pecuniary compensation alone will not afford Rat Pack adequate relief for the
  10 damage to its intellectual property rights, reputation, and sales. Further, Rat Pack is
  11 informed and believes, and thereon alleges that, in the absence of injunctive relief,
  12 customers are likely to continue being mistaken or deceived as to the true source,
  13 origin, sponsorship, and affiliation of both Rat Pack’s and Defendants’ goods and
  14 services.
  15          32.    Pursuant to 15 U.S.C. § 1118, Rat Pack is entitled to an order
  16 requiring destruction of all infringing products, packaging, and marketing materials
  17 in Defendants’ possession.
  18                            SECOND CAUSE OF ACTION
  19   (Statutory Unfair Competition – Business & Professions Code § 17200 et seq.)
  20                                 Against All Defendants
  21           33.   Rat Pack incorporates all allegations set forth hereinabove by this
  22 reference.
  23          34.    Defendants’ conduct as alleged herein constitutes unlawful and unfair,
  24 business practices prohibited by sections 17200 et seq. and 17500 et seq. of the
  25 California Business & Professions Code.
  26          35.    Defendants’ conduct is unlawful for the reasons set forth herein,
  27 including but not limited to Defendants’ violations of federal and foreign trademark
  28 laws and Defendants’ false designation of origin of Defendants’ goods and services.

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   1         36.     Defendants’ conduct is unfair for the reasons set forth herein. Without
   2 limitation, Defendants’ actions in blatantly misappropriating Rat Pack’s intellectual
   3 property – and continuing to do so even after becoming aware of Rat Pack’s rights
   4 through foreign litigation – violate the policy and spirit of the antitrust laws, and
   5 significantly threaten or harm competition.
   6         37.     Rat Pack is informed and believes and thereon alleges that as a direct
   7 and proximate result of Defendants’ wrongful conduct as described above,
   8 Defendants have gained property and revenues properly belonging to Rat Pack,
   9 which therefore seeks restitution of these amounts.
  10                             THIRD CAUSE OF ACTION
  11                        (False Designation of Origin – Austria)
  12                                 Against All Defendants
  13         38.     Rat Pack incorporates all allegations set forth hereinabove by this
  14 reference.
  15         39.     Rat Pack’s use of the “Rat Pack” trademark in commerce in Austria
  16 precedes Defendants’ use of the “Ratpac” mark in Austrian commerce and has
  17 continued without substantial interruption.
  18         40.     Defendants have used the “Ratpac” mark in Austrian commerce in
  19 connection with the sale and promotion of their own goods and services, which are
  20 substantially related to Rat Pack’s, without Rat Pack’s authorization.
  21         41.     As already adjudicated in the Austrian courts, Defendants’ use of the
  22 “Ratpac” mark in Austria has caused or is likely to cause confusion or mistake or
  23 deceive the public as to a possible affiliation between Defendants and Rat Pack, or
  24 as to the origin, sponsorship, or approval of Defendants’ and/or Rat Pack’s goods
  25 and services.
  26         42.     Rat Pack is informed and believes and thereon alleges that, as a
  27 proximate result of Defendants’ use of the “Ratpac” mark in Austria, Defendants
  28 have made substantial sales and profits in amounts to be established according to

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   1 proof.
   2          43.     Rat Pack is informed and believes, and thereon alleges that, as a
   3 proximate result of Defendants’ use of the “Ratpac” mark in Austria, Rat Pack has
   4 been damaged and deprived of substantial sales, profits, and royalties that Rat Pack
   5 otherwise would have earned, in amounts to be established according to proof.
   6                             FOURTH CAUSE OF ACTION
   7                    (False Designation of Origin – The Netherlands)
   8                                  Against All Defendants
   9          44.     Rat Pack incorporates all allegations set forth hereinabove by this
  10 reference.
  11          45.     Rat Pack’s use of the “Rat Pack” trademark in commerce in the
  12 Netherlands precedes Defendants’ use of the “Ratpac” mark in commerce in the
  13 Netherlands and has continued without substantial interruption.
  14          46.     Defendants have used the “Ratpac” mark in commerce in the
  15 Netherlands in connection with the sale and promotion of their own goods and
  16 services, which are substantially related to Rat Pack’s, without Rat Pack’s
  17 authorization.
  18          47.     As already adjudicated by the courts in the Netherlands, Defendants’
  19 use of the “Ratpac” mark in the Netherlands has caused or is likely to cause
  20 confusion or mistake or deceive the public as to a possible affiliation between
  21 Defendants and Rat Pack, or as to the origin, sponsorship, or approval of
  22 Defendants’ and/or Rat Pack’s goods and services.
  23          48.     Rat Pack is informed and believes and thereon alleges that, as a
  24 proximate result of Defendants’ use of the “RatPac” mark in the Netherlands,
  25 Defendants have made substantial sales and profits in amounts to be established
  26 according to proof.
  27          49.     Rat Pack is informed and believes, and thereon alleges that, as a
  28 proximate result of Defendants’ use of the “RatPac” mark in the Netherlands, Rat

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   1 Pack has been damaged and deprived of substantial sales, profits, and royalties that
   2 Rat Pack otherwise would have earned, in amounts to be established according to
   3 proof.
   4                             FIFTH CAUSE OF ACTION
   5                       (False Designation of Origin – Denmark)
   6                                Against All Defendants
   7          50.   Rat Pack incorporates all allegations set forth hereinabove by this
   8 reference.
   9          51.   Rat Pack’s use of the “Rat Pack” trademark in commerce in Denmark
  10 precedes Defendants’ use of the “Ratpac” mark in Danish commerce and has
  11 continued without substantial interruption.
  12          52.   Defendants have used the “Ratpac” mark in Danish commerce in
  13 connection with the sale and promotion of their own goods and services, which are
  14 substantially related to Rat Pack’s, without Rat Pack’s authorization.
  15          53.   On information and belief, Defendants’ use of the “RatPac” mark in
  16 Denmark has caused or is likely to cause confusion or mistake or deceive the public
  17 as to a possible affiliation between Defendants and Rat Pack, or as to the origin,
  18 sponsorship, or approval of Defendants’ and/or Rat Pack’s goods and services.
  19          54.   Rat Pack is informed and believes and thereon alleges that, as a
  20 proximate result of Defendants’ use of the “Ratpac” mark in Denmark, Defendants
  21 have made substantial sales and profits in amounts to be established according to
  22 proof.
  23          55.   Rat Pack is informed and believes, and thereon alleges that, as a
  24 proximate result of Defendants’ use of the “Ratpac” mark in Denmark, Rat Pack has
  25 been damaged and deprived of substantial sales, profits, and royalties that Rat Pack
  26 otherwise would have earned, in amounts to be established according to proof.
  27
  28

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   1                               PRAYER FOR RELIEF
   2        WHEREFORE, Rat Pack prays for judgment in its favor and against
   3 Defendants as follows:
   4        1.    For injunctive relief:
   5                    a. Enjoining Defendants and their agents, employees,
   6                        representatives, partners, joint venturers and/or anyone acting
   7                        on behalf of, or in concert with Defendants, preliminarily and
   8                        permanently, from directly or indirectly using Plaintiff’s “Rat
   9                        Pack” mark, or any confusingly similar mark, including but
  10                        not limited to the “Ratpac” mark, in interstate commerce in
  11                        the United States, in a manner that is likely to cause confusion
  12                        with Plaintiff’s mark in connection with the financing,
  13                        production, and/or distribution of films and television shows;
  14                        and
  15                    b. Compelling Defendants to destroy, or deliver to Rat Pack for
  16                        destruction, or to alter the labeling to some non-infringing
  17                        form on, any and all labels, signs, prints, packages, wrappers,
  18                        receptacles, DVDs, movies, shows, trailers, audiovisual
  19                        materials, and advertisements in the possession or under the
  20                        control of Defendants bearing the “Ratpac” mark or any other
  21                        mark confusingly similar to “Ratpack”.
  22        2.    For monetary relief:
  23                    a. Compensatory damages and the disgorgement of profits in an
  24                        amount to be proven at trial, in excess of $10 million,
  25                        including but not limited to a reasonable royalty
  26                        compensating Rat Pack for all unauthorized uses of the “Rat
  27                        Pack” mark or marks confusingly similar thereto by
  28                        Defendants;

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   1                     b. Restitution according to proof; and
   2                     c. Pre-judgment and post-judgment interest at the maximum rate
   3                         allowable by law.
   4        3.     For attorneys’ fees and costs as provided by law.
   5        4.     For such other and further relief, including but not limited to equitable
   6 relief, as the Court shall deem just and proper.
   7
   8 DATED: June 15, 2023                  ROSS LLP
   9                                          Peter W. Ross
                                              Charles Avrith
  10                                          Eric C. Lauritsen
  11
                                           By:        /s/ Peter W. Ross
  12                                                      Peter W. Ross
  13                                       Attorneys for Plaintiff Rat Pack Filmproduktion
                                           GmbH
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   1                           DEMAND FOR JURY TRIAL
   2         Rat Pack Filmproduktion GmbH hereby demands a trial by jury with respect to
   3 all issues so triable.
   4
   5 DATED: June 15, 2023                ROSS LLP
   6                                        Peter W. Ross
                                            Charles Avrith
   7                                        Eric C. Lauritsen
   8
                                         By:        /s/ Peter W. Ross
   9                                                    Peter W. Ross
  10                                     Attorneys for Plaintiff Rat Pack Filmproduktion
                                         GmbH
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